       The following case in which the Court of Appeals issued a published opinion has been
appealed to the Supreme Court:

    1. Deante Lamar Payne
        v. Commonwealth of Virginia
        Record No. 1044-13-3
        Opinion rendered by Judge AtLee on
        September 8, 2015
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Preston McKellar
   v. Northrop Grumman Shipbuilding, Inc., et al.
   Record No. 2231-13-1
   Opinion rendered by Chief Judge Huff
     on May 27, 2014
   Judgment of Court of Appeals reversed and matter remanded to this Court for remand to
     Commission to reinstate deputy commissioner’s award of compensation by opinion
     rendered on October 29, 2104 (140999)

2. Ronald Taft Davis, III
   v. Commonwealth of Virginia
   Record No. 1873-12-2
   En banc order rendered by Judge Petty
    on October 21, 2014
   Judgment of Court of Appeals affirmed and matter remanded to this Court for
    remand to trial court to correct record by opinion rendered on October 29, 2015
   (141674)
      On October 29, 2015 the Supreme Court issued an opinion in the following case, which
had been appealed from this Court:

   1. Cameron Frazier Bowman
      v. Commonwealth of Virgina
      Record No. 1880-13-1
      CAV petition for appeal denied by Senior Judge Annunziata on July 18, 2014 and by
       Judges Humphreys, McCullough and Senior Judge Bumgardner on October 31, 2014
      Judgment of Court of Appeals reversed and final judgment entered reversing appellant’s
       conviction
      (141737)
